                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION

UNITED STATES OF AMERICA                      )
                                              )
                                              )
v.                                            )       No. 3:10CR00304
                                              )       JUDGE CAMPBELL
WILLIAM PATRICK CABLE                         )
LINDSEY SPRING MCKINDER                       )
GREGORY MITCHELL HILL                         )


                  ORDER SUBSTITUTING RESTITUTION RECIPIENT

       Judgment was entered as to the above-named defendants, William Patrick Cable (Docket

Entry No. 74) and Gregory Mitchell Hill (Docket Entry No. 76) on September 20, 2011, and

Defendant Lindsey Spring McKinder on September 26, 2011 (Docket Entry No. 81), wherein joint

and several restitution in the amount of $20.00 was ordered to be paid to McDonald’s.

       Based upon information provided by the Clerk’s Office, McDonald’s has advised the

Financial Department that the restaurant which is the subject of restitution in this case is

independently owned by McDonald’s franchisee, Mr. Theodore Bertuca.

       Accordingly, the aforementioned Judgments are hereby amended to reflect that Mr. Theodore

Bertuca, as owner of McDonald’s (Store #2414), shall receive the balance of $20.00 joint and

several restitution due McDonald’s.

       The Court’s authority to substitute the victim’s name in the judgment is drawn from the All

Writs Act (28 U.S.C. §1651 (a)), which expressly authorizes a federal court to issue such orders “as

may be necessary or appropriate to effectuate and prevent the frustration of orders it has previously

issued in its exercise of jurisdiction otherwise obtained.”

       IT IS SO ORDERED.

                                              ______________________________________
                                              TODD J. CAMPBELL
                                              UNITED STATES DISTRICT JUDGE

 Case 3:10-cr-00304         Document 107          Filed 05/16/13    Page 1 of 1 PageID #: 262
